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 1   DAWYN HARRISON
     Acting County Counsel
 2   STEVEN G. EDWARDS (Cal. Bar No. 304165)
     Deputy County Counsel
 3   648 Kenneth Hahn Hall of Administration
     500 West Temple Street
 4   Los Angeles, California 90012
     Tel: (213) 974-1811
 5   Email: sedwards@counsel.lacounty.gov
 6
     Attorneys for Defendants
 7   LOS ANGELES COUNTY SHERIFF
 8   Submitted on behalf of Monitors Robert Houston
     and Jeffrey Schwartz
 9
10                           UNITED STATES DISTRICT COURT
11                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                WESTERN DIVISION
13 ALEX ROSAS, et al.,                      Case No. 12-cv-00428-DDP (MRW)
14             Plaintiffs,                  PANEL'S TENTH REPORT
                                            AND REQUEST FOR A
15                    v.                    STATUS CONFERENCE
16 LOS ANGELES COUNTY SHERIFF
   ALEX VILLANUEVA, in his official         Hon. Dean D. Pregerson
17 capacity,                                United States District Judge
18             Defendant.
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              PANEL'S TENTH REPORT AND REQUEST FOR STATUS CONFERENCE
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1             Pursuant to Section V of the Settlement Agreement And Release of Claims, the
2    Monitors appointed by this Court, Jeffrey Schwartz and Robert Houston (collectively,
3    the "Panel") hereby submit the attached Panel's Tenth Report "evaluation Defendant's
4    Compliance with Action Plan" prepared by the Panel for the six-month period from
5    January 1, 2021 to June 30, 2021. This Report takes into consideration the comments
6    from the parties in accordance with Section V of the Settlement Agreement. The Panel
7    is available to answer any questions the Court may have regarding this Report as such
8    times as are convenient for the Court and the parties.
9             Concurrent with the filing of this Report, the Panel respectfully requests a status
10   conference with the Court for the reasons set forth in greater detail in the Introduction to
11   the Report.
12            With the consent of the parties, the Panel requested counsel file this Report on its
13   behalf as neither monitor has easy access to the Court's electronic filing system.
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16       Dated: April 7, 2022                          Respectfully submitted,
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                                                       By /s/ Monitor Bob Houston
18                                                     Monitor and on behalf of Monitor
                                                       Dr. Jeff Schwartz
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                   PANEL'S TENTH REPORT AND REQUEST FOR STATUS CONFERENCE
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                                 PANEL’S TENTH REPORT

   Introduction and Request for Status Conference:

          The Monitors have been in place on this case for eight years, since 2014. Active
   monitoring of LASD’s progress toward compliance with the Settlement Agreement has been
   continuous for the last six years, or since 2016.

           While great progress was made on many fronts in the initial years of monitoring (none
   more important than the elimination of inmate beatings1 and the change in culture of the
   downtown facilities from enforcement‐oriented to service‐oriented), as noted in prior Monitor
   reports, that has not been the case recently. From the use of force packages we have been
   reviewing, we are no longer seeing progression towards professional management of force
   situations. It is time for the jail culture to stop supporting behaviors that are forbidden by
   Policy.

           As the Monitors reported to the jail management during their most recent visit and
   tour, in December, 2021, the Panel is deeply concerned that progress on some key issues has
   ‘plateaued” on some key issues and actually regressed on some others. The Monitors
   respectfully request a status conference with the Court in light of the recent lack of progress
   on key issues.

           The Panel recognizes that the jails, and all of LASD, have been in uncharted waters for
   the last two years. Staff shortages due to inability to recruit combined with extraordinary
   sickness and other absenteeism rates have affected staff morale and had far‐reaching
   consequences in many areas of operations. In spite of that, it is the Department’s responsibility
   to move toward compliance and the Panel’s responsibility to report on that progress or lack of
   progress.

            More specifically, the use of “head shots” (punches to the head of an inmate) where
   prohibited by policy, has been relatively unchanged in the last two years or more, and may be
   increasing. No issue has been discussed more with management over the last six years and
   especially in the last two years, to little avail. That problem is compounded by two other
   factors. Use of force reviews by supervisors and managers in the serious cases selected by the
   Monitors, almost always fail to note out‐of‐policy head shots or – less frequently – attempts to
   justify them. Then the supervisors and managers are not held accountable for those failures


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            The panel is referencing situations in which multiple Deputies continued to beat and/or
   kick an inmate after he was on the floor and sometimes unconscious, or in which inmates were
   taken to off camera locations where brutal uses of force were administered as retaliation or for
   intimidation, or the like. The panel distinguishes these situations from uses of force that are out
   of compliance with policy but are not primarily retaliation and are not intended to inflict serious
   injury.
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   and the Deputies using the improper for are “counseled” or sent to remedial training and actual
   discipline is seldom imposed. While the Department has openly acknowledged this continuing
   issue in discussions with the Monitors, and is now contemplating changes to the way head
   shots are categorized and reported, there has been little real change or progress in more than
   two years.

            A second long‐standing and consistent problem is the tendency of Deputies to fail to call
   for a supervisor when encountering a recalcitrant inmate, as required by policy and Provision
   2.7, and/or to put hands on an inmate unnecessarily, resulting in a use of force. This problem is
   closely related to another issue, the 32 hours of DeVRT training provided to all jail staff. In
   simple terms, the Panel sees little evidence that the DeVRT training has been generally effective
   and little evidence of specific de‐escalation skills from that training. The panel was concerned
   about DeVRT from the outset several years ago and spent a great deal of time suggesting
   changes. After repeated attempts by the Monitors to suggest a fundamentally different
   approach to conflict resolution training were rejected, the Panel did approve the DeVRT
   curriculum, hoping that the Department’s approach would be successful and the Monitors
   would be proved wrong. Ultimately, it was the Department’s decision about the content of this
   training but the results over several years have reinforced the Panel’s view that the DeVRT
   training is substantially less effective than is needed. (We found Compliance with 3.3 on June
   30th, 2018)

          Another frequent issue of concern is the Department’s use of the WRAP, a relatively
   new piece of equipment and procedure for immobilizing inmates to prevent further violence.
   The Monitors were assured that the WRAP policy satisfactorily addressed their major concerns
   but case reviews suggested the policy in question was being violated on a regular basis. The
   Monitors wrote to the Department twice about the unreasonable delay in revising and
   following policy. We were told that the Department would investigate the matter and get back
   to the Monitors. That has not happened. The Monitors recognize that there are many
   stakeholders weighing in on the WRAP Policy revision but the continuing practice with WRAP
   cannot be justified. Short of a new and formally approved policy, the Department could have
   issued one or more directives to correct the improper and potentially dangerous WRAP
   practices, but has not. While the positions of other stakeholders may complicate this situation,
   the Department is ultimately responsible for what they do and do not approve as policy, and
   when.

          In the first few years of monitoring, the Panel selected cases for a given quarter from
   the cases in which the Department investigation was complete. That meant that almost all of
   the cases selected were a year or more in arrears. In order to have a substantial number of
   cases that were more recent, the Monitors arranged with the Department that some selected
   cases would continue to be those in which investigations were complete but an additional
   group of cases would be selected that were relatively recent and for which the Department
   agreed to complete investigations with high priority. This selection process was intended to
   recognize ongoing improvements in performance. That arrangement worked well until perhaps
   two years ago. Since then, the cases have been increasingly in arrears and the panel finds itself

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   sometimes evaluating incidents from eighteen months ago or more. The Monitors, in assessing
   a quarter, do not have some of the cases requested in advance for review that quarter.
   Obviously, the Panel’s feedback is far less helpful when it concerns a case from a year and a half
   ago. The Monitors have raised this problem repeatedly, informally and formally, but it is
   getting worse rather than better.

            The Monitors note that throughout this Report, auditors have not examined some
   source documents. From the initiation of monitoring the Rosas agreement, specific source
   documents have been reviewed by auditors working with the Department‐appointed Monitor,
   initially Richard Drooyan and for the last few years, Marc Harris. When Mr. Harris resigned as
   Monitor to accept a special assignment in Washington D.C., his law firm no longer maintained a
   contract with the auditors.

          The Department should have made alternative arrangements to rehire the auditors but
   has not. As a consequence, the Monitors are unable to vouch for the accuracy of some of the
   findings reported by the Department in its self‐report. It is a necessity that the auditors be
   rehired or some other auditing arrangement be developed.

            In the past, the Auditors have generally corroborated the Department’s self‐assessment
   data. That would suggest that even in the absence of Auditors, the Monitors could rely on the
   findings in the self‐assessment reports. However, a recent development has cast doubt on that
   conclusion. Provision 6.11 requires the Department to log and report all inmate grievances
   falling into any of five categories. For the first two quarters of 2021, the Department reported
   two such grievances. However, the Monitors reviewed information documenting an additional
   eight such grievances in Q1 and Q2, 2021. The Panel wrote to the Department asking about the
   unreported grievances and received a quick reply saying the Department would review the
   situation. It has been over three weeks and the Panel has not received anything. The apparent
   under‐reporting raises the specter that other self‐reporting may be substantially incorrect.

          This situation is not isolated and there is a concerning pattern of failure to respond in
   substance to questions or issues raised by the Monitors. As mentioned above, the Panel has
   twice written about WRAP policies and practices. Except for an informal explanation of why the
   new WRAP policy has not been approved, the Panel still has no answers or information.

            Following our last site visit, the Monitors wrote to the Department on Jan. 2,2021,
   listing a number of concerns, issues and questions. We received an immediate reply that the
   Department would review those and respond to us. That was over three months ago and we
   have received nothing.

           The Panel has previously expressed concern about lack of clarity regarding the specifics
   of the “force concepts” training assigned by MCJ Unit Commanders. See Seventh Report, p. 25,
   n.36 (noting that the annual refresher course required by Section 3.1 is not appropriate as a
   remedial measure for individuals with disproportionate number of uses of force situations).


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   The Panel has not been furnished with any further information and remains concerned about
   the appropriateness of the remedial use of force training.


           The Monitors do not expect instantaneous information but the quick response of “We
   will look into this and get back to you”, followed by nothing, makes it particularly difficult to
   determine the Department’s compliance status.

         One situation at MCJ and asked about in that Jan. 2 letter was of most serious concern.
   We wrote:

   “On Sept. 7, 2021 there may have been information that a firearm might have been smuggled
   into MCJ. That appears to have led to a shakedown of at least two tiers and a strip search
   and X‐ray search of the inmates on those tiers. During our visit, many inmates were interviewed
   separately by the Monitors. Inmate complaints about this situation were very consistent. They
   said they were taken out of their cells in the morning, given no explanation (except for
   oneinmate who said he was told the reason for the search by a deputy), strip searched, then
   walked naked en masse through the jail and down to the room with the X‐ray machine, passing
   large numbers of male and female staff members, some of whom, according to the inmates
   we interviewed, mocked them or made other humiliating comments. They stated that they
   got boxers but still no shoes and were taken to the yard where they were kept for hours until
   returned to their cells that night.”

   “Questions: Who approved this procedure?
   Is this a standard procedure?
   Once stripped outside their cells, why were the inmates not given boxers and sandals before
   escorting them through the jail?
   How long were various groups of inmates kept naked?
   How long before various groups of inmates were returned to their cells?
   What level of supervisor oversaw these events?
   Is there a policy governing this type of search?
   Did all inmates get food, water and access to bathrooms at reasonable intervals?”

   The Department’s immediate response said they had already completed an “After‐Action
   Report” and Corrective Action Plans. We have received neither of these and no other
   information.

           It should also be noted that the previous nine Monitoring reports were authored by all
   three Monitors. This report is written by the remaining two Monitors, Robert Houston and
   Jeffrey Schwartz. While Mr. Harris formally resigned as a Monitor in early Sept., 2021, he had
   informally told all parties a month earlier that he was almost certainly leaving. Since he was




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   appointed by the Department2, it is their responsibility to replace him. In spite of several
   inquiries and entreaties, the Department took several months to identify a replacement but
   within the last several weeks the Department has said the arrangements could not be
   completed. It is now seven months since Marc Harris signaled his departure. Since the
   Monitors divide cases for review, this situation results in a fifty percent increase in workload for
   the remaining two Monitors. The encouraging news is that the Department has just indicated it
   has selected a replacement Monitor and, while contracts and approvals must still be finalized, it
   appears a return to a three Monitor Panel may be soon.

           The Panel notes compliance and non‐compliance for every provision in each of its
   reports but there is no consensus among the Parties about what that means in relation to
   termination. More specifically, the Parties have never agreed on the question of grouping of
   provisions (into “buckets”) that determine which provisions must be in compliance concurrently
   with other Provisions As noted in the Panel’s prior reports, the Panel has encouraged both
   Parties to adopt a meaningful framework to determine the Department’s compliance with the
   Settlement Agreement but the Monitors are unaware of attempts in the last few years by
   either Party to initiate discussion or negotiations about that or other unresolved issues. The
   Monitors believe that a clear pathway to compliance would be a valuable motivating factor for
   all.

           In order to be as constructive as possible, the Monitors have provided a list of suggested
   changes to policies and procedures related to the Rosas agreement. That list of
   recommendations is Appendix B to this report. It should be emphasized that these are just
   that, recommendations, and are not required by the settlement agreement or in any other
   fashion.

   The Monitors also plan to make a substantial change in the manner in which they report
   compliance and non‐compliance on a quarterly basis. Beginning with the Second Semester of
   2021, the Monitors will provide both Parties a Force Matrix for all cases reviewed during each
   Quarter. This Matrix provides the Department's compliance/non‐compliance/non‐applicable
   with each Provision in every case we review.

   Brief History:

           The Settlement Agreement and Release (the “Settlement Agreement”) between the
   Parties in Alex Rosas, et al. v. Leroy Baca, Case No. CV 12‐00248‐DPP (the “Rosas” case)
   provides that the Court‐appointed Monitors (the “Panel”) will “prepare and submit to the
   Parties and the Court periodic reports evaluating Defendant’s compliance with the Action Plan
   [developed by the Panel] (‘Reports’) at intervals the Panel shall determine.” This Report sets
   forth the Panel’s assessment of the Los Angeles County Sheriff’s compliance with the provisions
   of the Action Plan during the period from January 1, 2021, to July 31st, 2021, and it is created

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            Per the Rosas settlement agreement, a second Monitor, Jeffrey Schwartz, was appointed
   by the Plaintiffs and the third, Robert Houston was mutually agreed upon by both parties.
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   for the purposes of the settlement of the Rosas case. In accordance with Paragraph V of the
   Settlement Agreement, it takes into consideration comments received from the Class Counsel
   on March 17th, 2022 and the Defendants on March 21st, 2022,

           In May 2014, the Parties retained the Panel “to develop a corrective action plan (‘Action
   Plan’) designed to ensure that [inmates] are not subject to excessive force in the Jail Complex in
   downtown Los Angeles” (the “Downtown Jail Complex”). The plan developed by the Panel sets
   forth provisions in twenty‐one (21) areas that the Sheriff is required to implement in the
   Downtown Jail Complex. The plan was approved by the Court on April 7, 2016. Under
   Paragraph VIII of the Settlement Agreement, “[w]hen the Panel certifies that any
   recommendation of the Action Plan has been implemented it shall commence a period of
   monitoring the Defendant’s compliance with respect to that recommendation (‘Compliance
   Period’).” As of November 1, 2018, the Sheriff’s Department (the “Department”) has
   implemented 104 of the Panel’s 106 recommendations. The remaining two recommendations,
   Section 4.10 (expansion of conflict resolution training) and Section 9.1 (security checks), have
   been superseded by the Settlement Agreement and Stipulated Order of Resolution in United
   States v. County of Los Angeles, et al., CV No. 15‐05903 (JEMx) (the “DOJ case”).

           In the Panel’s Ninth Report, for the second half of 2020, the use of force numbers
   increased slightly across all of the Downtown facilities, but were still well below the numbers
   we saw in 2018 and 2019. It was noted in our Eighth and Ninth Reports that much of this
   decrease was undoubtedly attributable to the significant reduction in the inmate population in
   the Second Quarter of 2020 due to the COVID‐19 pandemic. In the First Semester of 2021, we
   have seen 565 incidents across all three facilities, an increase of 9% from the Second half of
   2020. Most of these incidents were of Category 1. Notably, there were no Category 3 force
   incidents at any of the Downtown jail facilities in the second half of 2020 while there were four
   (4) Category 3 force incidents in Quarters One and Two of 2021. While the numbers of
   Category 3 incidents are too small to distinguish reliable differences from random variation, the
   increase in Category 3 incidents is a cause for concern.

           The Panel reviewed 25 force packages in the First Quarter of 2021 and 25 force
   packages in the Second Quarter of 2021. The Panel did not select these force packages
   randomly or in proportion to the frequency with which various categories of force occur.
   Rather, the Panel selected for review the force incidents most likely to involve serious uses of
   force, as has been the case since the beginning of Rosas monitoring.

           Other issues raised by the Panel in prior reports persisted in the Tenth Reporting period,
   most notably, the failure of the Department to mete out discipline in cases where force policies
   are violated or Department personnel inaccurately described force incidents in their written
   reports. Although significant strides have been made by the Department in limiting improper
   uses of force and developing a culture that discourages bad practices and emphasizes more
   positive staff‐inmate relationships, the Panel believes that further progress in eliminating
   improper uses of force can only be achieved if deputies who are proven to have cross the line
   are disciplined by supervisors who call out this behavior.

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           Regarding the non‐force related provisions in the Action Plan, the Department
   submitted its Tenth Self‐Assessment Status Report (the “Tenth Self‐Assessment”) on January
   22, 2022. During the Tenth Reporting Period, the Panel reviewed records posted by the
   Department to verify the Department’s self‐assessments of its compliance with non‐force
   provisions of the Action Plan. The Panel’s evaluation of the provisions of the self‐assessment
   reports are included in this Report.

           Due to the restrictions and safety concerns caused by the COVID‐19 pandemic, the
   Panel was not able to visit the jails in the First Half of 2021. Accordingly, the Panel was not able
   to offer an assessment of the state of the relationship between Department personnel and
   inmates beyond what can be gleaned from the data and our review of the selected force
   packages. We resumed our visits to the Jails in December 2021.

         During the Tenth Reporting Period, the Panel reviewed fifty (50) completed force
   packages from the First and Second Quarters of 2021 that were selected by the Panel from a
   comprehensive list of all force incidents compiled by the Department. As noted above, the
   Department continues to struggle to complete its use of force investigations in a timely
   manner.

   The Department continued to cooperate well with the Panel. The Department and County
   Counsel answered most questions and responded to our requests for documents and
   information. They also engaged in constructive virtual meetings on February 3rd, 2021, and
   May 18th, 2021, with the Panel concerning our findings regarding the use of force incidents we
   reviewed. We appreciate their professionalism, and courtesy in handling our monitoring
   requests.

                                          ACTION PLAN IMPLEMENTATION


   I.       Leadership, Administration and Management

            A.       Leadership and Accountability

          The recommendations in Sections 1.1 through 1.4 of the Action Plan require that
   Custody be headed by an Assistant Sheriff with no other areas of responsibility, the Sheriff be
   engaged personally in the management of the jails, the Department’s managers be held
   accountable for any failures to address force problems in the Jails, and that the Department
   regularly reports to the Board of Supervisors on the use of force in the jails and on its
   Compliance with the Action Plan.

           The Department has been in Compliance with Sections 1.1 and 1.2 of the Action Plan
   since January 1, 2017. Custody has been headed by an Assistant Sheriff with no other areas of
   responsibility since mid‐2014. Custody was under the direction of Bruce Chase for most of the

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 1st Semester of 2021. Assistant Sheriff Corbett was appointed during the Tenth Reporting
 Period on April 18th, 2021. The Panel found both Assistant Sheriff Chase and Corbett to be
 accessible, forthright, and fully supportive of the work of the Panel.

 The Panel met with Sheriff Villanueva by a Webx video conference in April 2021, and again in
 early January 2022. Both conversations were candid and forthright. The Monitors expressed
 concern with the frequency of head punches during our reviews of force packages. The Panel
 also advised the Sheriff that supervisors need to identify and properly handle situations where
 force is avoidable (2.2, Force as a last resort) or unnecessarily applied. The Sheriff discussed the
 lack of resources in the jails in general and the staff and supervisor shortages in particular.

         Section 1.3 of the Action Plan provides that Department managers should be held
 accountable if they fail to address use of force problems at the Downtown jail facilities. The
 Compliance Measures require the Department to provide a quarterly report that sets forth the
 number and rank of personnel found to have violated use of force policies in the Jails. In the
 First Quarter of 2021, one (1) sergeant and one (1) deputy were addressed with written
 reprimands. In the Second Quarter, two (2) deputies received written reprimands. The Panel
 notes that in each of those two quarters, the Panel found a substantial number of additional
 cases in which personnel violated use of force policies and/or the recalcitrant inmate policy.
 Each of those cases is identified for the Department with particularity prior to the Panel’s
 quarterly meeting with Department managers and supervisors and then discussed in detail at
 that meeting. More specifically, the Monitors find that often supervisor reviews neither
 identify, nor effectively address, deputy abuses of inmates with head punches. These punches
 are forbidden by Provisions and the LASD Custody Manual. Although this has been an ongoing
 high priority issue, progress toward stemming this behavior has slowed, or more likely,
 backtracked, based on Monitor force reviews during the first two quarters of 2021. The
 Monitors emphasized during the December 2021 visit that a change is necessary, both in
 deputy actions and supervisor reviews. The Department is thus Not in Compliance with this
 portion of Section 1.3.

        In discussions with command staff members over several quarters, the Monitors have
 recommended that head punches/strikes be removed from the umbrella of ‘personal weapons’
 and given a separate status. During our December 2021 Monitoring visit, the Department said
 they have agreed to this change but gave no time frame for a policy redraft.

         Compliance Measures for Section 1.3 also require the Department to provide data
 regarding overall force incidents and Category 3 incidents so the Panel can assess whether
 there have been substantial increases and whether any such increases have been appropriately
 addressed by Unit Commanders and Commanders. There were two (2) Category 3 uses of force
 in the First Quarter and two (2) in the Second Quarter of 2021. If there was communication
 among the Commanders and Unit Commanders about the increase in Category 3 incidents, it
 was not documented or otherwise apparent from the information the Panel reviewed. The
 Department has Not Achieved Compliance with this aspect of 1.3.


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        The total uses of force for the First two quarters of 2021 was 565. In Quarter 1 there
 were 246 uses of force, and 319 in Quarter 2. This represents a 30% increase from Quarter 1 to
 Quarter 2, 2021. For the First Quarter of 2021, there were 35 NCIs, and for the Second Quarter
 there were 28 NCIs (a 20% decrease). For the First Quarter of 2021, there were 144 Category 1
 incidents, and for the Second Quarter there were 227 Category 1 incidents (a 58% increase).
 For the First Quarter of 2021, there were 65 Category II incidents, and for the Second Quarter
 there were 63 Category II incidents (a 3% decrease). The Panel finds the Department In
 Compliance with this portion of Section 1.3 of the Action Plan with regard to providing overall
 data on uses of force.

         Section 1.3 has multiple elements and the Department is in compliance with some but
 out of compliance with others. The Panel’s decision of non‐compliance was based primarily on
 the Department’s persistent reluctance to impose discipline in those cases where use of force
 policies are violated. Additionally, in cases where the Panel has found a policy violation
 regarding use of force, and where the supervisors or mid‐managers reviewing the incident have
 failed to identify a policy violation, or even question the use of force, little action is taken with
 the supervisor and/or mid‐manager. Accordingly, the Panel finds the Department Out of
 Compliance with Section 1.3 of the Action Plan.

         The Department is In Compliance with Section 1.4 in the Tenth Reporting Period. On
         th
 April 6 , 2021, Assistant Sheriff Bruce Chase, Commander Sergio Aloma, and then‐Captain Larry
 Alva made presentations to the Board of Supervisors on the Department’s work to comply with
 the Rosas Action Plan.

 B.       Management Visits

          Sections 10.1 and 10.2 require the Department’s leadership to tour each of the jail
 facilities and document those visits. The Department has previously asked the Panel to
 consider suspending the requirements of these provisions during the pendency of the COVID‐19
 restrictions. Beginning in the First Quarter of 2021, the Panel agreed to the development of
 technology‐based alternatives to in‐person visits. The Department used video cameras for
 virtual visits throughout the Facilities. The Panel finds this acceptable for both Quarters of this
 Reporting period. The Department is In Compliance with both 10.1 and 10.2. As the frequency
 of COVID 19 cases has lessened, leadership now needs to tour facilities in accordance with
 these Provisions.

 C.       Rotations and Transfers

          Sections 18.1 and 18.2 require the Department to (1) maintain Custody‐wide rotation
 policies and rotate personnel as required by these policies, and (2) audit each facilities’
 compliance with its rotation policies. The Department’s Tenth Self‐Assessment reports that the
 Department achieved 99% Compliance in the Tenth Reporting Period. Each of the Downtown
 Jail facilities has a reasonably current Unit Order setting forth its rotation policy and the source
 documents indicate that most Department personnel are rotated in Compliance with these

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 policies. The Department is In Compliance with Section 18.1 and Section 18.2 through June
 30th 2021.

 II.      Use of Force Policies and Practices

         Section 2.1 of the Action Plan requires the Department to “have a separate, revised,
 free‐standing, and logically organized Custody Force Manual for Custody Operations[.]” On
 October 16, 2015, the Department provided the Panel with a Custody Operations Force Manual
 with separate sections on Use of Force Policy, Use of Force with Special Populations, Restraints,
 Escorting, Chemical Agents, Reporting, Review, Special Weapons, and Deputy‐Involved
 Shootings. The Department’s Custody Force Manual Satisfies Section 2.1 and includes specific
 provisions that Satisfy Sections 8.2 (Complaints of Retaliation), 17.2 (Pregnant Inmates), 20.1
 (Types of Force), and 20.2 (Definition of Reactive Force) of the Action Plan. The Department
 has been In Compliance with these Sections since the Panel began monitoring the
 Department’s compliance as of January 1, 2017.

         The other recommendations in the Action Plan that pertain to the Department’s use of
 force in Custody Operations are summarized as follows:

       ● Sections 2.2 through 2.13 require the Department to adopt a comprehensive set of new
         use of force policies for Custody Operations.

       ● Sections 4.1 through 4.5 require the Department to adopt specific use of force policies
         for dealing with mentally ill prisoners.

       ● Sections 9.2 through 9.3 require the Department to adopt specific policies for escorting
         inmates after force incidents and intervening to protect inmates as soon as it is
         reasonably safe to do so.

       ● Section 17.5 requires the Department to adopt policies for minimizing the risk of an
         inmate’s medical distress during and after a force incident.

       ● Section 20.3 requires the Department to adopt use of force policies for Planned Force
         (such as cell extractions).

 The Panel reviewed multiple drafts of the Department’s policies to implement these
 recommendations, required changes where appropriate, and certified that the Department had
 implemented these policy recommendations effective December 1, 2015.

         During the Eighth Reporting Period, the Department advised the Panel of several
 proposed changes to the policies that were previously approved by the Panel. The Panel was
 given the opportunity to comment on the proposed changes. Although most of the proposed
 changes were acceptable, the Panel has advised the Department that some modifications are
 necessary and recommended other modifications to existing policy. During the Ninth and

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 Tenth Reporting periods, the Panel continues to work with the Department with respect to
 proposed revisions to the force policies, including revising the provision regarding prohibited
 uses of force. The Department has been receptive to comments and suggestions raised by the
 Panel, although the policies discussed have not been consistently finalized.

        The WRAP policy and its application remain ongoing high priority concerns for the Panel.
 The WRAP policy has not been approved by the Monitors, as required, and the practices used
 with WRAP appear to be almost diametrically opposed to the way in which the Department
 explained that WRAP was being used. Provision 17.6 is non‐compliant specifically because of
 WRAP procedures risking compressional asphyxia (see MCJ‐04485 and IRC‐01256, for ex.).

 A.        Review of Force Incidents

          The Action Plan requires that the Panel review selected force packages each quarter to
 assess whether the use of force is in Compliance with Sections 2.2 through 2.13, 4.1 through
 4.5, 9.2, 9.3, and 17.5 (the “Force Provisions”) of the Action Plan. As has been the practice of
 the Panel, we reviewed the problematic incidents identified during our review with Custody
 Commanders and took into consideration their comments in reaching the conclusions set forth
 in this Report. The Panel also met with Plaintiffs’ counsel to review the force incidents
 identified as problematic by the Panel as well as additional incidents Plaintiffs’ counsel
 considered problematic. The input of the Department and Plaintiffs’ counsel was most helpful
 in reviewing and assessing compliance with the Force Provisions

         The Department continues to struggle to complete its use of force investigations in a
 timely manner. In 2020 and in early 2021, we were hopeful that with the filling of many of the
 Sergeant vacancies in the Custody Division the pace of the Department’s use of force
 investigations would improve, and the Panel would be better able to assess progress in
 something approaching real time. While these positions were being filled during the First and
 Second Quarters of 2021, the necessity for more Sergeants persists and the backlog of cases
 ready for our review has not diminished.

        As noted above, the Panel’s review of force cases with the Custody Division managers is
 most effective when the cases are as recent as possible. If the Panel is reviewing cases that are
 more than a year old, the value of the discussion between the Panel and the Department is
 diminished.

      1. First Quarter 2021 Results

         Per the applicable Compliance Measures, the Panel selected 25 force incidents to review
 in the First Quarter of 2021 and received and reviewed all 25 of those force packages. The
 packages were selected without input from the Department. As has been the Panel’s approach
 in past Reporting periods, the Panel selected for review the force incidents most likely to
 involve problematic uses of force. The Panel asked to review all Category 3 incidents (those
 involving force that is likely to, or does, result in severe injuries) and many Category 2 incidents

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 that involved strikes by Department personnel. Thus, the universe of force incidents selected
 by the Panel continues to include a disproportionate number of the more serious incidents
 involving the use of force by Department personnel.

         Based on the assessment of each provision across all the reviewed force packages, the
 Panel concluded that from January to June 2021, the Department was not in Not In Compliance
 with Five (5) Packages with the following Provisions violations 2.2 Force Prevention Principles,
 2.6 Head Strikes or Kicking Inmates 2.7 Calling Supervisors to the Scene Before Physically
 Engaging with Recalcitrant Inmates, 2.13 Check of Medical Records, 5.2 Commanders’ Reviews,
 5.3 Unexplained Discrepancies in Reports, 12.2 Location of Inmate Interviews, 15.3 Force by
 Others, 15.6 Separation of Deputies to Write Reports, and 20.3 Planned Use of Force. The most
 problematic cases were as follows:
         Quarter 1      IRC 00884
                        MCJ 02673
                        MCJ 2817
                        TTCF 01226
                        TTCF 01605

         Each of those cases was identified by the Panel for the Department and discussed or
 considered at the meetings between the Panel and Department that focused on problematic
 use of force cases.

          As in previous Reports, the Panel has expressed concern that Department members
 sometimes react too quickly and should take advantage of “time and distance” to de‐escalate
 situations and avoid using force altogether. The Panel often sees opportunities to plan a safer
 use of force. The failure to call a supervisor when confronted with a recalcitrant inmate is a
 corollary of the need for Department members to take time before using force to control a
 recalcitrant inmate. The Department shared with the Panel their four (4) short new training
 videos developed for ongoing use of force refresher training required by the Action Plan. These
 videos were created to emphasize the advantage of time and distance and calling a supervisor
 to help de‐escalate an incident whenever possible. The Panel found the new videos to be
 realistic and effective but questions about who would be trained and when, had not been
 determined.

         The other persistent problem regarding the use of force identified by the Panel is the
 use of head strikes, as discussed earlier in this report. The Panel again found cases in the First
 Quarter where personnel struck an inmate in the head, but the statements or actions
 presented by the inmate did not justify a head strike. In some of these cases, a use of force
 short of head strikes was justified, but in other cases the use of force itself was avoidable.

         As in the past, the Panel has found the Department out of compliance with Section 5.2,
 relating to the evaluation of force incidents by supervisors since we are not consistently seeing
 rigorous reviews across all levels of the Department. We continue to see improper uses of
 force validated in the initial Supervisor’s review and, while the Watch Commander and Unit

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 Commander reviews are more substantive and probing than we saw in the early years of our
 monitoring, one or both Commander reviews often concur with the erroneous evaluation of the
 investigating Sergeant. In situations where the deputies use head strikes, the packages are
 nearly universally found to be following policy even where adverse action is taken with the
 deputy or deputies. Policy violations that involve abusive behavior need to be called out of
 compliance for what they are, serious violations by personnel and an improper use of force.

          For example, in this 1st Quarter, case TTCF 020‐01226, Deputy X entered a Module to
 escort Inmate S to Court. IM S refused to go to Court due to withdrawal pain from heroin.
 Deputy X placed his palm on IM S’s bicep while stating that he would take him to the Clinic. The
 Deputy went ‘hands on’ before calling for a supervisor and waiting for this backup. IM S sat up
 in bed and swung his elbow striking Deputy X in the face. Rather than stepping back from a
 sitting inmate, Deputy X punched Inmate S twice (2) in the face. In his Report, Deputy X stated
 that his head strikes did not have the intended effect. In a Supervisor Review: ‘Personnel could
 have adhered to basic officer safety principles, not entered the cell, and requested medical and
 sergeant support’. Monitors found the incident non‐compliant with 2.2, force not used as a last
 resort, 2.6, no head strikes unless inmate is both assaultive and there is an imminent threat of
 serious injury, 2.7, Supervisor not called to the scene, 20.3, Supervisor not on the scene, 5.2,
 Supervisor review, because the Deputy’s head punches were not identified as Provision/Policy
 violations, 12.3, an involved Deputy was a part of IM S’s interview, 12.4, Un‐involved
 supervisor, the assigned investigator was a part of the force used, and 15.6, Separation of
 Deputies to write reports, because no document in force package to verify this separation was
 in the record.

        The Monitors were advised by Assistant Sheriff Corbett that the Department has begun
 to gather statistics and information about the use of head strikes. Further, he will be sharing
 these results with Command Staff. The Panel expressed its appreciation and support of these
 decisions. The Monitors recommend that the results become a part of the Early Warning
 System to hold staff and supervisors more accountable.

        The documentation provided by the Department was not sufficient for the Panel to
 determine the Department’s compliance with the provision relating to the separation of
 Department personnel after a force incident. To achieve compliance with Section 15.6, the
 supervisor must document that the members were separated and how this separation was
 accomplished.

     2. Second Quarter 2021 Results

         In the Second Quarter of 2021, the Panel reviewed 25 force incidents. The Panel
 concluded that the Department was Not In Compliance with Seven (7) Use of Force Cases that
 include the same provisions of the Action Plan noted in the First Quarter. The Department is
 not in Compliance with the following Provisions: 2.2, Force Prevention Principles, 2.6, Head
 Strikes or Kicking Inmates, 2.7, Calling Supervisors to the Scene Before Physically Engaging with
 Recalcitrant Inmates, 2.13, Check of Medical Records, 5.2, Commanders’ Reviews, 5.3,

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 Unexplained Discrepancies in Reports, 8.3, CFRC Reviews, 12.2, Location of Inmate Interviews,
 15.3, Force by Others, 15.6, Separation of Deputies to Write Reports, and 20.3, Planned Use of
 Force. The most problematic cases in the Second Quarter (also identified for the Department
 and discussed with them):
         Quarter 2     IRC 01472
                       MCJ 04852
                       MCJ 00790
                       TTCF 00267
                       IRC 01584
                       MCJ 04267
                       IRC 01527

          For example, this 2nd Quarter’s IRC 920‐01527, Deputy Y approached IM Mc because he
 had walked away from him during an escort. IM Mc was standing about one foot away from a
 corridor wall while facing outward. With no hesitation, Deputy Y grabbed IM Mc chest and
 slammed him into the wall. Deputy Y punched IM Mc 5‐9 times in the head, and Deputy Z
 punched IM Mc 6‐8 times in the head as they took IM Mc to the floor because they ‘feared’ that
 the Inmate might become assaultive. Deputy Reports did not include force by others. Deputy X
 made no report about the Inmate striking him in the collarbone until after he watched the
 videos. He then stated he remembered feeling a ‘sharp pain’. Reviewing Supervisors did not
 ‘call out’ the punches as being out of compliance, nor did they critique the slamming of IM Mc
 onto the wall. Monitors found this to be a 2.2 violation for avoidable force, not used as a last
 resort, more than minimal force used, force not de‐escalated or terminated when inmate was
 controlled, a 2.6 violation for head strikes when inmate was neither assaultive nor high risk,
 17.5, inmate was not placed in the recovery position once controlled, 17.6, inmate was not
 placed on side on a gurney (WRAP was used) for transportation, 20.3, supervisor was not called
 to the scene to direct force, 20.3, supervisor not on scene, 5.2, Supervisor Review ‐ had some
 criticisms but head shots were not addressed, 15.6, no documentation of Deputies being
 separated to write reports, and 15.3, Deputies did not report force by others. Although IM B’s
 witness statements aligned with the video, supervisor reviews were written to deny his
 credibility. Although IM Mc was struck several times in the head, no photographs were taken of
 the Inmate. Supervisor report states Deputy X was trying to cuff up IM Mc, video evidence
 shows that this was not true. Supervisor report states inmate was physically assaultive toward
 personnel and, again, from video evidence that was simply not true.

         Also in this Second Quarter, IRC 01472, Inmate S was escorted out of his cell and was
 placed face down on a spider table. The Inmate had refused to cooperate with the inmate
 wristband count. Inmate raised his arms. Custody Assistant S punched the Inmate 5 times on
 head during the take down because the CA ‘feared’ for himself and his partners’ safety.
 Monitors found a 2.2 violation, force was not used as a last resort, 2.6 violation, Inmate struck
 only for control, 2.7., Supervisor not called to the scene, 17.5, inmate not placed in recovery
 position after being controlled, 17.6, Inmate not carried from scene on his side, 5.2, Supervisors
 only minimally called out head punches and violations of recalcitrant inmate policy, 15.3,


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 Deputies did not report punches by CA, and 15.6, no documentation of staff being separated to
 write their reports.

         The Panel has reviewed some cell extractions this period, especially transfers to
 Wayside, where medical checks are not made before the extraction, and use of
 chemicals/taser, and de‐escalation are sometimes non‐existent. The Panel concluded that in
 the First and Second Quarters of 2021, there is Not Enough Data present To Decide on the
 Department’s Compliance with Section 4.1 of the Action Plan, related to having a mental health
 professional on‐scene to attempt to resolve the situation.

         Plaintiffs have identified several concerns related to the force used by Department
 personnel in applying the WRAP device to inmates following force incidents. In discussions
 regarding the restraint provisions of the Action Plan, the Panel worked with the Department in
 developing the policy related to the use of the WRAP device and intends to meet with the
 Department to discuss the implementation of that policy and the concerns raised by Plaintiffs
 regarding the force used in the application of the device. Plaintiffs identified cases in which
 force was used against restrained inmates involving the application of the WRAP device and
 urged a finding of non‐compliance with respect to Section 2.5. While Plaintiffs’ concerns with
 the WRAP centered on the application of the device and more specifically on the potential for
 positional asphyxia due to compression of the head, neck and chest and the time inmates are
 held face down, the Panel’s primary concern was whether the WRAP is used to prevent further
 physical confrontation during transport, or whether it is being used more broadly as a warning
 and deterrent to other inmates, which would be improper. The Department has told the Panel
 that the WRAP is only used if an inmate has been assaultive toward staff or has a history of staff
 assaults, and pointed to the WRAP policy that requires supervisory approval in advance and
 requires a supervisor on‐scene when the WRAP is applied. During case reviews, the Panel
 realized that these two policy provisions were regularly violated, with no supervisory or
 management comment or discussion, and no accountability. The Monitors twice wrote to the
 Department about this issue and the Department said it would review and respond, but has
 not. Based largely on this WRAP issue, the Department is Out of Compliance with Section 2.5.

     3. Training

         Sections 3.1 through 3.4 of the Action Plan require that Department members receive
 training on use of force policies, ethics, professionalism, and treating inmates with respect.
 New Department members are to receive six (6) weeks of specific training in Custody
 Operations. Sections 4.6 through 4.9 require the Department to provide Custody‐specific,
 scenario‐based skill development training for existing and new personnel in Crisis Intervention
 and Conflict Resolution and in “identifying and working with mentally ill inmates.” Section 12.1
 requires that Custody Sergeants receive specific training in conducting use of force
 investigations.

        The Panel has previously deemed the Department to be complying “as of” the date
 reported by the Department for the completion of the initial training required for existing

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 personnel. The Department’s continuing compliance with the training provisions is determined
 by its compliance with the refresher training required every year or every other year. The 2020
 Assessment was submitted on July 16th, 2021. That self‐assessment did not include any data for
 the first two quarters of 2021. The Department will submit its report of refresher training with
 the 11th Court Report as part of its Self‐Assessment.
 The Monitors note that the lack of de‐escalation skills has been a serious and frequent problem
 identified in use of force case reviews. In 4.6, the Department is required to conduct training
 with the frequency and duration noted in this Provision. However, this Provision also requires
 “scenario‐based, skill development training”. So, both the quantity and quality of its delivery
 are key aspects of this Provision. The Panel has determined that this training and refresher
 training is not favorably changing Deputy behavior and should be re‐created and approved by
 the Monitors. The Panel finds Non ‐Compliance with Sections 4.6 through 4.9.

               a. Use of Force Training

         As of June 30, 2018, the Department was found to Be Compliant with the training
 requirements of Section 3.1. In the 8th Reporting Period, the Department reported that certain
 training classes were canceled or modified due to COVID‐19 safety restrictions and requested
 that the Panel defer an assessment of this provision through the 9th Reporting Period.
 The Monitors note the crucial role of use of force training in achieving compliance and do not
 believe a one‐year hiatus in that training is consistent with the Rosas agreement. The
 Department is Out of Compliance with this Provision.

               b. Ethics and Professionalism Training

         The Department requested a six (6) month extension on ethics and professionalism
 training to July 16th, 2021, but has not conducted any of that training during the granted
 extension. The Monitors find the Department Out of Compliance with Provision 3.2.

               c. Mental Health Training

 In 2021, the Department requested a six (6) month extension on mental health training that the
 Monitors granted in the ninth reporting period. Here again, the training did not occur during
 this extension and the Monitors find this Provision (4.7) Out of Compliance.

               d. New Deputy Sheriffs and Custody Assistants

        The Department reported that since the First Reporting Period beginning on July 1,
 2015, newly assigned Deputies have been required to complete a six‐week Custody Operations
 course that includes training in use of force and ethics, professionalism and treating inmates
 with respect, and new Custody Assistants, have received training in these subjects during their
 Academy training as required by Section 3.3. The Department’s posted results reflect that the
 Department has met the 95% Compliance standard for new Deputies and new Custody
 Assistants since June 2018. The Department requested an extension on 3.3, not because the

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 required training was not completed timely, but because the training sign‐up sheets could not
 be located. The Department is tracking down individuals who completed the training so that
 they can sign new training records. The Monitors do not think an extension is necessary and
 find the Department is in Compliance with 3.3.

         The Department previously reported that 100% of new Deputies and Custody Assistants
 had received the conflict resolution training (DeVRT) and training in “identifying and working
 with mentally ill inmates” (“IIMI”) required by Sections 4.8 and 4.9. The required DeVRT and
 IIMI training takes place after Deputy Sheriffs and Custody Assistant Academy graduations and
 prior to assuming duties at their unit of assignment. The Department’s Tenth Self‐Assessment
 reports that 100% of the new Deputies received the required training in the First and Second
 Quarters of 2021. The Department is In Compliance with Sections 4.8 and 4.9 through June
 2021.

         Section 3.5 requires Unit Commanders to determine “what additional training,
 counseling or mentoring may be required when a personnel complaint involving the use of
 force is resolved with a finding that it ‘Appears Employee Conduct Could Have Been Better’
 direct that the Department member undergo additional training, counseling, or mentoring, and
 document the action taken.” The Department’s Tenth Self‐Assessment reports that there were
 no inmate grievances against staff involving use of force where the disposition was that it
 “Appears Employee Conduct Could Have Been Better.” The Department is In Compliance with
 Section 3.5 as of the end of June 2021.

         Section 3.6 requires Unit Commanders to review new Department members within six
 (6) months of being initially assigned to Custody and again before the end of their probationary
 period. Based upon a random selection of personnel records, the Department reports that all
 the new Department members were reviewed as required by Section 3.6 during the first six (6)
 months of 2021. Prior to 2021, the Department had never been close to compliance on this
 provision. To change that, the Compliance Bureau initiated a number of steps to inform Unit
 Commanders of the specifics of this requirement, and to track progress. These efforts were
 fully successful and resulted in 100 per cent of new personnel receiving both required
 evaluations. The Department is thus In Compliance with 3.6.

               e. Sergeant Training

         Section 12.1 requires that all Custody Sergeants receive an initial 16‐hour block of
 training in conducting use of force investigations. The Panel approved the 16‐hour initial
 training course on February 24, 2017. The Department has since demonstrated to the Panel
 that by the Third Quarter of 2019 virtually all the Sergeants who initially missed the required
 training had completed their training. No Sergeants were promoted during the First Quarter of
 2021 and all 53 of the Sergeants promoted in the Second Quarter did receive the use of force
 investigations training. Accordingly, the Panel finds the Department In Compliance with
 Section 12.1 for the 10th Reporting Period.


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   4.      Reporting and Investigation of Force Incidents

         Many of the recommendations in the Action Plan that pertain to the reporting and
 investigation of force used by Department personnel in Custody Operations are assessed by the
 Panel through a review of the completed force packages. Other provisions are reported by the
 Department as follows:

        ● Section 5.1 requires the Department to track use of force investigations, reviews, and
          evaluations; review evaluations of force incidents; and conduct additional investigation
          of discrepancies and unexplained tactical decisions. The Department reports that 96%
          of the force incidents in the First Quarter of 2021 were timely entered into the database
          as required by Section 5.1, and 96 % were timely entered in the Second Quarter of 2021
          which is above the 95% threshold required for being In Compliance.

        ● Section 8.3 requires that investigations of grievances claiming that Department
          members used force to retaliate against inmates be timely evaluated by the Custody
          Force Review Committee (“CFRC”). The Department reports that it achieved 100%
          Compliance with this provision in the First and Second Quarters of 2021.

        ● Section 11.1 requires that the Custody Force Rollout Team’s involvement in reviewing
          force incidents not delay the Department’s investigation of the force incidents. The
          Compliance Measure requires that “95% of the investigations reviewed by CFRT were
          not delayed beyond the period permitted by law for imposing discipline.” The
          Department previously reported that it achieved Compliance with Section 11.1 in the
          Second Quarter of 2018. The Department continues to be in substantial compliance
          with 11.1 through the 10th Reporting period.

        ● Section 13.1 requires the Department to “have a firm policy of zero tolerance for acts of
          dishonesty or failure to report uses of force.” Sections 13.1 and 13.2 require the
          documentation of the reasons and reports to the Inspector General whenever the
          Department does not terminate a member who has been found to have been dishonest,
          used excessive force, or violated the Prisoner Rape Elimination Act (“PREA”). The
          Department continues to be In Substantial Compliance in the Tenth Reporting Period.

           The Panel has previously noted its concern that reviewed use of force packages include
           staff reports that are inaccurate and self‐serving, but which are not treated as
           “dishonesty” or “integrity” issues by the Department. In this Report, the Panel has
           found the Department Out of Compliance with Sections 5.2 (Commanders’ reviews);
           5.3 (unexplained discrepancies); and 15.3 (reports of force by other members), based on
           reports that do not accurately describe the use of force or the inmate’s conduct that
           prompted the uses of force. Nevertheless, the Panel has deemed the Department In


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            Compliance with Sections 13.1 and 13.2 based on the Department’s adherence to the
            Compliance Measures applicable to those provisions.

           Sections 14.1 and 14.2 require (1) an additional review of referrals of inmates for
            criminal prosecution arising from incidents involving the use of force by Department
            members and (2) timely referrals to the District Attorney of “officer misconduct that
            may amount to criminal violations.” The Department reports 100 % Compliance with
            Section 14.1 for the First and Second Quarters of 2021. In the Self‐Assessment Report,
            the Department requested to remain in compliance with 14.2, noting the complexity of
            these cases. “Complexity” is not the real problem here. Many of the cases involving
            potential criminal conduct of staff are investigated under section 801 of the penal code,
            which allows three years to actually file a case. Until a case is investigated and referred
            to the DA for prosecution, or dropped, it is confidential and cannot be reported to the
            Custody Compliance Bureau. That means that a number of cases are not reported as
            referred to the DA for two or two‐and‐one‐half years, in direct conflict with the Rosas
            requirement of six months. It was a mistake that the County initially agreed to the six
            months but the conflict was likely not apparent then. The Monitors recommend that the
            Parties change the six month requirement in light of the three year rule in 801 p.c.. In
            the interim, the Monitors must consider the Department Out of Compliance with 14.2,
            since the Panel cannot over‐ride what the Parties have agreed to.

           Provision 15.6 requires the separation of personnel to write reports after a use of force
            and ensure that independent reports are written. Supervisors need to document in
            writing that the separation occurred and how this was accomplished to achieve
            compliance with this Provision. Compliance with 15.6 would greatly assist with 15.2
            compliance, that is, every Department member wrote an independent report. The
            Monitors find Non‐Compliance with 15.6 and 15.2

 III.       Inmate Grievances

        The Action Plan requires extensive changes in how the Department handles inmate
 grievances and requests for service. On July 15, 2016, the Department issued a new “Inmate
 Grievance Manual” (Volume 8 of the Custody Division Manual) to implement a new grievance
 system.

            A.     Grievance Forms

         Sections 6.1 through 6.6 require that separate forms for inmate grievances be
 reasonably available to inmates and that the forms have specific checkboxes. Section 7.1
 requires the Department to advise inmates of the voluntary Conflict Resolution Meeting
 available under the Department’s Conflict Resolution Policy. The Panel has previously
 concluded that the forms meet the requirements of the Action Plan and are reasonably
 available to inmates. The Department remains In Compliance with those provisions relating to
 the availability of the required forms in printed or electronic format.

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         One area of continuing concern is the significant backlog in processing grievances
 against staff. The Panel raised this issue in its Eighth Report and has seen little change in this
 reporting period. The Department’s data continues to reflect a bottleneck with the reviewing
 Sergeants. The Panel understands that staffing cuts within Custody Operations are contributing
 to this backlog. The Department has taken steps in the First Quarter of 2021 to increase
 Sergeant staffing in the Custody division and expects to improve its processing of grievances in
 the next reporting period. As we have noted in the past, the appropriate and prompt handling
 of grievances against staff – perhaps more than any other type of grievance – is critical to
 maintaining an appropriate culture within the jails and giving credibility to the grievance
 process. We look forward to seeing substantial improvement on this issue in the coming
 months.

         An area of continuing concern is the significant backlog in processing grievances filed
 against staff, particularly at MCJ. The Panel raised this issue in its Eighth and Ninth Reports and
 has seen little change in this Tenth Reporting period. During the first half of 2021, 100 % of the
 complaints against staff that were received were assigned for review. The Department’s data
 continues to reflect a bottleneck with the reviewing Sergeants. The Panel understands that
 staffing cuts within Custody Operations are contributing to this backlog. The Department has
 taken steps to increase Sergeant staffing in the Custody Division and expects to improve its
 processing of grievances.

         Sections 6.4 and 6.5 of the Action Plan require that use of force grievances and
 retaliation grievances against staff are brought to the attention of Unit Commanders within 10
 days and properly handled. Based upon a review of the relevant grievances in the randomly
 selected months, the Department reports that 100 % of force grievances were in Compliance
 with Section 6.4 in the First Quarter of 2021 and 100 % were in Compliance in the Second
 Quarter of 2021. The Department also reports that only 87% of the retaliation grievances in
 the First Quarter and 83% in the Second Quarter of 2021 were in compliance with Section 6.5.
 Source documents indicate that although TTCF (3/3) and IRC (1/1) complied, MCJ (10/12) was
 not in compliance These total numbers are so low that missing only two (2) cases meets both
 the spirit and intent of 6.5, while falling somewhat short of the criterion. Therefore, the
 Department is In Compliance with 6.4 and 6.5.

          B.       Emergency Grievances

          Sections 6.7 and 6.8 of the Action Plan set forth specific requirements for the
 determination, handling, and notifications of non‐medical emergencies. Section 6.7 requires:
 (1) Deputies to send any grievance marked “emergency” to a supervisor for review “as soon as
 possible;" (2) supervisors to determine if “the situation requires immediate action to protect
 the life or safety of the inmate;” (3) supervisors are to notify watch commanders/shift
 supervisors of any non‐medical emergencies; (4) Watch Commanders/shift supervisors are to
 immediately confirm the emergent circumstances. The Compliance Measures require that 95%
 of the grievances marked as emergencies “be reviewed and handled as required by [Section]

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 6.7”. It is implicit in Section 6.7 that a supervisor’s determination that the situation requires
 immediate action and a Watch Commanders confirmation that emergencies exist will be
 reasonable. Section 6.8 requires that if the Department determines that a non‐medical
 emergency does not exist, the Department must notify the inmate that it will be handled as a
 non‐emergency grievance and document why it was determined not to be an emergency.

        Based upon the review of the grievances marked “emergency” in the month randomly
 selected by the Panel for the First Quarter of 2021, Sharepoint reports indicate that there were
 15 grievances that met the criteria of Section 6.7 and 93% (14 of 15) were properly reviewed
 and handled correctly.

        This performance falls below the threshold for compliance as it is at a level of 93%. The
 Panel has also reviewed each of the 50 grievances produced from the First Quarter of 2021 in
 which a grievance marked “emergency” was downgraded and it was found that 100% of cases
 were correctly downgraded. The Panel identified zero (0) instances where the grievance should
 have been treated as emergent but were not, and there were zero (0) instances where the
 inmate was not provided with a written response to the grievance within the required five (5)
 days.

           Based upon the review of the grievances marked “emergency” in the month randomly
 selected by the Panel for the Second Quarter of 2021, the Department reports there were 26
 grievances that met the criteria of Section 6.7, including one instance that should have been
 treated as an emergency, but was not. This performance is above the threshold for compliance
 as it is at a level of 96%. The Panel has also reviewed each of the 50 grievances produced from
 the First Quarter of 2021 in which a grievance marked “emergency” was downgraded and it
 found that 100% of instances were correctly downgraded. The Panel identified zero (0)
 instances where the grievance should have been treated as emergent but was not, and in one
 (1) instance the inmate was not provided with a written response to the grievance within the
 required five days. The Panel agrees that 6.7 and 6.8 remain In Compliance that was first
 achieved July 1st 2018.

          C.       Inmate Grievance Coordinator

        Section 6.9 requires that emergency grievances be forwarded to the Inmate Grievance
 Coordinator. Sections 6.13, 6.14, and 6.15 require the Inmate Grievance Coordinator to track
 the Department’s handling of inmate grievances, provide a monthly report to the Unit
 Commander and senior management in Custody on the status of inmate grievances, and
 analyze inmate grievances for problematic trends. The Department provided documentation to
 the Panel showing that for the First and Second Quarters of 2021, the Inmate Grievance
 Coordinator received the information about emergency grievances required by Section 6.9 and
 prepared detailed reports for managers as required by Sections 6.13, 6.14, and 6.15. The
 Department is In Compliance with Sections 6.9, 6.13, 6.14, and 6.15 through June 30th, 2021.



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         The Panel met via WEBx with the Inmate Grievance Coordinator on April 28th, 2021,
 during the Tenth Reporting Period to discuss the Department’s implementation of its grievance
 policies and procedures and overall trends with respect to the Department’s handling of inmate
 grievances. As previously reported, the Panel believes that the structure of the grievance
 system developed by the Department under the direction of an Inmate Grievance Coordinator
 is effectively and efficiently handling inmate grievances and requests for service. The
 Department continues to be In Compliance with Section 6.16, that was first achieved on
 January 17th, 2017.

          D.       Handling of Grievances

         Sections 6.10 and 6.12 require that grievances be collected daily, logged in, and tracked
 in an inmate grievance database. The Compliance Measures for these provisions require that
 the Department review the first 25 consecutive grievances from MCJ and the first 25
 consecutive grievances from TTCF during the randomly selected month to determine if they
 were collected, reviewed, and tracked as required. The Department’s Tenth Self‐Assessment
 reports that 100% of the reviewed grievances were collected and reviewed within 24 hours and
 handled as required in both the First and Second Quarters of 2021. The collection logs provided
 by the Department confirm that all 50 of the grievances selected for review were collected and
 reviewed as required by Section 6.10. Accordingly, the Department remains In Compliance
 with Section 6.10 for the First and Second Quarters of 2021.

        The Department’s Tenth Self‐Assessment reports that 100 % of the grievances at both
 MCJ and TTCF in the randomly selected months in the First and Second Quarters of 2021 were
 entered into the database as required by Section 6.12. The source documents for these results
 were available to, and reviewed by, the Panel. Accordingly, the Department is In Compliance
 With Section 6.12 through June of 2021. Compliance with 6.12 was first achieved on July 1st
 2018.

         Section 6.11 requires that the Custody Division Manual provide that failing to comply
 with Department policies requiring proper handling of inmate grievances may be cause for
 discipline. The Department reports that there were no claims that Department members failed
 to provide grievance forms to an inmate upon request. As discussed above, the Monitors have
 asked the Department about a group of unreported grievances that appear to contradict the
 department’s conclusion. In the absence of a response from the Department, the Monitors
 find non‐Compliance with 6.11.

         The Panel has previously noted its concerns regarding the pace of implementation of
 technology to electronically receive and track the Department’s handling of inmate grievances
 within the jails. The plan was to install iPads in tamper‐proof cases within the living units and to
 automate the grievance process, retaining paper grievance forms for those inmates who
 preferred them. Prior to installing grievance software, the iPads in TTCF were outfitted with
 inmate request and information software so that questions about an inmate’s account, court
 dates, medical appointments, and much more could be accessed and answered by inmates

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 without staff involvement. That was a huge success, with hundreds of thousands of inmate
 inquiries answered immediately which removed a huge workload from frontline staff and
 eliminated a great deal of inmate frustration when staff does not have time to get answers to
 those questions. All were optimistic about the Department expanding the program to the other
 facilities and enhancing them with the grievance system capabilities but a combination of
 technological challenges, indecision regarding the appropriate operating system, and delays
 due to COVID‐19 and other health issues within the jails appears to have set the initiative back.
 The Department reports that it continues to press forward on this initiative. The Panel hopes
 the Department will re‐double its efforts to more widely implement the electronic tablet
 program throughout the Downtown Jail Complex.

         Section 8.1 prohibits Department personnel from retaliating against inmates. The
 Department posted the results of the investigations approved by Unit Commanders in the
 randomly selected months and the number of anti‐retaliation grievances received and
 investigated in the First and Second Quarters of 2021. The Department reports that in the First
 Quarter of 2021 there were no grievances alleging retaliation resolved in the selected month.
 For the entire quarter, there were 14 anti‐retaliation grievances received, no investigations
 completed, and no founded violations of the anti‐retaliation policy. In the Second Quarter of
 2021 there was one (1) grievance alleging retaliation resolved in the selected month. This
 grievance was investigated and it was found that the actions taken by the employee were
 reasonable. For the entire quarter there were 14 anti‐retaliation grievances received, one
 investigation completed, and no founded violations of the anti‐retaliation policy. The Panel
 reviewed the investigative summaries that were posted by the Department. Of the anti‐
 retaliation grievances that Unit Commanders deemed unfounded in the randomly selected
 months of March and April of 2021, the Panel agrees with the Commanders’ assessments. The
 Panel finds that the Department has maintained Compliance with Section 8.1 through June
 2021.

                   E. Deadlines

          Sections 6.17, 6.18, 6.19, and 6.20 set forth the deadlines for filing use of force and
 PREA grievances, the Department’s initial responses, inmates’ right to appeal, and the
 Department’s notifications of the results of the investigations. The Department’s Tenth Self‐
 Assessment reports that it adhered to the deadlines for these grievances in both the First and
 Second Quarters of 2021. The Panel has reviewed the source materials provided by the
 Department and agrees that the Department is In Compliance with Sections 6.18 and 6.20
 through June 2021. However, the Grievance Form needs to correct information about deadlines
 for filing reports concerning staff and PREA, as pointed out in our Ninth Report. There is no
 indication the grievance form has yet been corrected, resulting in non‐Compliance on Section
 6.17.

         The Panel has previously noted that the Department reports on the timeliness of
 responses by Correctional Health Services to inmate grievances against the medical staff (e.g.,
 lack of a timely response to a request for medical service), a metric required to achieve

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 Compliance with Section 6.19. However, during the Panel’s December 2021 visit with the
 Department, we were informed that Medical is now cooperating to a greater degree with the
 Department grievance staff, which is encouraging. The Department has not yet achieved
 Compliance with 6.19.

        During the Monitors’ most recent visit, in December 2021, the Monitors requested that
 the Grievance Coordinator audit a sample of grievances to determine if the responses to inmate
 grievances were relevant and reasonable. The Grievance Coordinator agreed to do that and the
 Monitors look forward to reviewing that data.

 IV. Communications with Inmates

         The Tenth Self‐Assessment also reports that the Department adhered to the deadlines
 for advising inmates of the results of adjudications as required by Section 7.2 for First Quarter
 (100%) and the Second Quarter (100%) of 2021. The posted source documents for these results
 were available to, and reviewed by, the Panel. Accordingly, the Department is In Compliance
 with Section 7.2 through June of 2021.

         Section 7.3 requires the Department to “ensure that there are adequate avenues for
 constructive prisoner‐staff communication[.]” The Department’s Tenth Self‐Assessment reports
 that the Department was in Compliance with Section 7.3 during both the First and Second
 Quarters of 2021. The Department provided 10% of the recorded prisoner‐staff
 communications that occurred during Town Hall meetings at MCJ and TTCF during the
 randomly selected months during the First and Second Quarters of 2021 that included Town
 Hall meetings in special housing units as well as in General Population housing units. Based on
 these logs, the Panel concludes that the Department has achieved Compliance with Section 7.3
 for the period January through June of 2021.

 V. Use of Restraints

         Section 17.1 requires that the Custody Force Manual include “a separate section that
 sets forth the general principles governing the use of restraints” identified in this
 recommendation. The Panel concludes that the Department included such a separate section
 in the Manual and Continues its Compliance with this requirement of Section 17.1, first
 effective on December 1, 2015.

        Section 17.3 requires medical examinations of inmates placed in safety chairs and
 Section 17.4 requires safety checks of inmates in fixed restraints every twenty (20) minutes.
 The Compliance Measures require the Department to provide the Panel “with a list of incidents
 in which inmates were placed in a Safety Chair, restrained to a fixed object for more than
 twenty (20) minutes, or subjected to security restraints for an extended length of time” in the
 Downtown Jail Complex.



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         During the Tenth Reporting Period, the Department provided the Inmate Safety Chair
 Security Check Logs for use of the safety chair and Fixed Restraint Logs at Downtown Jail
 Complex in the First and Second Quarters of 2021. The Inmate Safety Chair Security Check Logs
 and Fixed Restraint Logs reflect that Department personnel are, in most cases, checking on the
 inmates every twenty (20) minutes as required by Section 17.4. However, there is no indication
 that medical professionals are performing any vitals checks required by Section 17.3 even
 though inmates are often in the safety chairs for several hours while they are transported to
 court, attend the court proceedings, and are then transported back to the facilities.
 Additionally, information regarding 17.3 and 17.4 were not present within the SharePoint files.
 Periodic vitals checks are necessary to establish Compliance with Section 17.3 even if the
 inmate does not struggle and force is not used to place the inmate in the chair. Compliance
 has not been achieved on 17.3 and 17.4.

         Section 17.10 provides that medication cannot be used solely for security purposes.
 The Department’s posted Self‐Assessment, confirmed by a log of the Administration of
 Involuntary Medications, reports that every administration of involuntary medications was
 pursuant to court order and there were no instances in which medication was used solely for
 security purposes in the First and Second Quarters of 2021. Accordingly, the Department has
 been In Compliance with Section 17.10 through June 30th of 2021.

 VI. Early Warning System

          Section 19.1 requires the Department to develop an Early Warning System to identify
 potentially problematic employees based upon objective criteria. The Panel approved the
 Employee Review System (“ERS”) in July 2018, and it was implemented by the Department as a
 pilot program in the Downtown Jail Complex on August 1, 2018, and in the rest of the jail
 facilities as of November 1, 2018. The Department has been In Compliance with Section 19.1
 in the Downtown Jail Complex since August 1, 2018.

         During early discussions on objective criteria, the Monitors suggested that the
 Department look broadly at objective criteria that can continually strengthen the usefulness
 and integrity of this System. For example, the Department will soon have information on the
 use of head punches by deputies. This information can be added to the criteria for Early
 Warning conversations and actions.

         Section 19.2 requires Compliance Lieutenants to review monthly reports generated by
 the ERS and notify Unit Commanders and the Assistant Sheriff for Custody of the results within
 specified time periods. Under the Revised Compliance Measures, Compliance Lieutenants must
 notify the Unit Commander and Assistant Sheriff for Custody Operations 90% of the time within
 10 days after reviewing monthly reports generated by the Early Warning System and 95% of the
 time within 30 days. The Department’s Tenth Self‐Assessment reports that the Department
 achieved 100% Compliance with Section 19.2 in the First and Second Quarters of 2021 at all
 three (3) Downtown jail facilities. Based on the source documents provided, the Panel
 concludes that the Department was Out of Compliance with Section 19.2 for the First Two

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 Quarters of 2021, because information for the Second Quarter was not available on
 SharePoint.

        Section 19.3 requires Unit Commanders to determine whether problematic employees
 should be placed on a performance mentoring program. For each potentially problematic
 Department member identified through the Early Warning System, the Unit Commander must
 consult with the appropriate Chief and document the reasons why any problematic members
 are not placed on a performance mentoring program.

         Based on the documents provided, it appears that Unit Commanders are notifying their
 appropriate Chief of those instances in which employees are not placed on a performance
 mentoring program, but they are not engaging in the required consultation with the Chief.
 Moreover, Unit Commanders at MCJ are not properly documenting the reasons why identified
 employees are not being placed on performance mentoring programs. Instead, MCJ tends to
 assign any employee identified by the EWS to some form of remedial training, either “force
 concepts” or “use of force refresher.” The only exceptions appear to be situations in which
 there is an administrative investigation in progress. The Panel finds the Department to be out
 of compliance on Section 19.3.

 The Department argues that they should be found in compliance on 19.2 and 19.3 largely
 because of two years of earlier continuous findings of compliance on both Provisions. That
 would only be true if those two measures were in a group (“bucket”) in which all other
 provisions in the group had been in simultaneous compliance for at least 18 months. The
 Parties have failed to agree on which provisions are in which groups, or buckets, and the Panel
 cannot assume answers to that question, which is the exclusive purview of the Parties.




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                                                    APPENDIX A

          NO.       PROVISION                                    STATUS3               DATE4

                    Leadership, Administration &
                    Management

          1.1       Assistant Sheriff                            Compliance            January 1, 2017
          1.2       Sheriff                                      Compliance            January 1, 2017
          1.3       Supervision
          1.4       Reports to Board                             Compliance            June 12, 2018
          10.1      Jail Visits                                  Compliance*           June 30, 2018
          10.2      Documented Visits                            Compliance*           June 30, 2018
          18.1      Rotation in Custody                          Compliance            June 30, 2018
          18.2      Documentation of Rotation                    Compliance            January 1, 2019
          21.1      Transfers to Custody                         Compliance            June 30, 2018

                    Use of Force Policies &
                    Practices

          2.1       Custody Force Manual                         Compliance            January 1, 2017
          2.2       Force Prevention Principles
          2.3       Inmate on Inmate Violence                    Compliance            July 1, 2019
          2.4       Use of Force as Discipline                   Compliance            July 1, 2019
          2.5       Force on Restrained Inmates
          2.6       Head Strikes or Kicks
          2.7       Supervisors Called to Scene
          2.8       Prevent Excessive Force                      Compliance            July 1, 2019
          2.9       Armed Inmates                                Compliance            July 1, 2019
          2.10      Authorized Weapons                           Compliance            July 1, 2019
          2.11      Planned Chemical Spray                       Compliance**          January 1, 2020
          2.12      Chemical Spray & Tasers                      Compliance            July 1, 2019
          2.13      Check of Medical Records
          4.1       Consult MH professionals                     Compliance**          October 1, 2019
          4.3       Spray on MH inmates                          Compliance            October 1, 2019


         A single asterisk denotes that assessment of the provision was suspended during the
          Second Quarter of 2020 based on the Department’s inability to comply due to COVID-19
          restrictions. A double asterisk denotes that there was insufficient data to assess
          compliance during the First Semester of 2021.
         This represents the date the Department came into the compliance that it has maintained
          through the date of this report.
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          4.4       Cooling Off Periods                          Compliance**          October 1, 2019
          4.5       Medical or MH Provider                       Compliance**          October 1, 2019
          8.2       Complaints of Retaliation                    Compliance            January 1, 2017
          9.2       Escorting of Inmates                         Compliance            January 1, 2020
          17.2      Pregnant Inmates                             Compliance            January 1, 2017
          17.5      Minimize Medical Distress                    Compliance            July 1, 2019
          20.1      Categories of Force                          Compliance            January 1, 2017
          20.2      Reactive Force                               Compliance            January 1, 2017
          20.3      Planned Use of Force

                    Training5

          3.1       Use of Force Training
          3.2       Ethics, Professionalism
          3.3       Custody Training                             Compliance            June 30, 2018
          3.4       Custody-based scenarios                      Compliance            June 30, 2018
          3.5       Add training/mentoring                       Compliance            July 1, 2019
          3.6       Probation Reviews                            Compliance            June 30, 2021
          4.6       Crisis Intervention
          4.7       Mentally Ill Inmates
          4.8       Mentally Ill Inmates (for new                Compliance            June 30, 2018
                    Department members)
          4.9       Crisis Intervention (for new                 Compliance            June 30, 2018
                    Department members)
          12.1      Force Investigations                         Compliance            June 30, 2021

                    Investigation & Reporting of
                    Force

          4.2       Mental Health Professionals                  Compliance            October 1, 2019
          5.1       Tracking of Force Incidents                  Compliance            October 1, 2019
          5.2       Commanders’ Reviews
          5.3       Unexplained Discrepancies
          8.3       CFRC Review                                  Compliance            June 30, 2021
          11.1      CFRT Involvement                             Compliance            June 30, 2018
          12.2      Location of Inmate Interviews
          12.3      Suspect Interviews                           Compliance            July 1, 2019
          12.4      Uninvolved Supervisors                       Compliance            July 1, 2019
          12.5      Standard Order & Format                      Compliance            July 1, 2019
          13.1      Documenting dishonesty                       Compliance            October 1, 2019
          13.2      Reports of Dishonesty/PREA                   Compliance            October 1, 2019
          14.1      Review of Criminal Referrals                 Compliance            July 1, 2018


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          14.2      Timeliness of Criminal                                             July 1, 2018
                    Referrals
          15.1      Timeliness of Reports                        Compliance
          15.2      All Department Witnesses                     Compliance            July 1, 2019
          15.3      Force by Other Members
          15.4      Description of Injuries                      Compliance            April 1, 2020
          15.5      Clarification after Video                    Compliance            July 1, 2019
          15.6      Separation of Deputies
          15.7      Individual Perceptions                       Compliance            July 1, 2019
          16.1      Healthcare Assessment                        Compliance            July 1, 2019
          16.2      Photographs of Injuries                      Compliance            July 1, 2019
          16.3      Medical Report of Injuries                   Compliance            July 1, 2019

                    Inmate Grievances

          6.1       Separate Grievance Forms                     Compliance            January 1, 2017
          6.2       Available Grievance Forms                    Compliance            January 1, 2017
          6.3       Emergency Grievances Forms                   Compliance            January 1, 2017
          6.4       Use of Force Grievances                      Compliance            July 1, 2018
          6.5       Grievances Against Staff                     Compliance
          6.6       Right to Appeal Form                         Compliance            January 1, 2017
          6.7       Handling Emergency                           Compliance            July 1, 2018
                    Grievances
          6.8       Notification of Non-Emergency                Compliance            January 1. 2020
          6.9       Grievance Coordinator Review                 Compliance            July 1, 2018
          6.10      Collection of Grievances                     Compliance            June 30, 2021
          6.11      Failure to Handle Grievances
          6.12      Tracking Inmate Grievances                   Compliance            July 1, 2018
          6.13      Grievance Coordinator Tracking               Compliance            July 1, 2018
          6.14      Grievance Coordinator Reports                Compliance            July 1, 2018
          6.15      Grievance Coordinator Analysis               Compliance            July 1, 2018
          6.16      Centralized Grievance Unit                   Compliance            January 1, 2017
          6.17      Use of Force Deadline                        Compliance            October 1, 2019
          6.18      PREA Deadline                                Compliance            July 1, 2018
          6.19      Response to Inmate Grievances
          6.20      Appeals of Grievances                        Compliance            July 1, 2018
          7.2       Notification of Results                      Compliance            July 1, 2018
          7.3       Prisoner-staff Communications                Compliance            April 1, 2019
          8.1       Anti-retaliation                             Compliance            April 1, 2019

                    Use of Restraints

          17.1      Restraint Provisions                         Compliance            December 1, 2015
          17.3      Safety Chair Procedures
          17.4      Safety Checks

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          17.6      Multi-point Restraint
                    Procedures
          17.7      Approval of Multi-point                      Not Applicable
                    Restraints
          17.8      Continued Use of Restraints                  Not Applicable
          17.9      Supervisor Approval of                       Not Applicable
                    Restraints
          17.1      Involuntary Medications                      Compliance            July 1, 2018
          0

                    Early Warning System

          19.1      Development of EWS                           Compliance            August 1, 2018
          19.2      Review of ERS (EWS) reports
          19.3      Performance Mentoring
                    Programs




                                                     Appendix B

   Monitor Recommendations for bringing LASD into Compliance with Rosas
                          Implementation Plan
     1) Reissue WRAP policy strengthening emphasis on requirement that a Sergeant must
        approve every use in advance and be present for application of WRAP. Also emphasize
        that WRAP is restricted to situations in which inmate has been assaultive toward staff, as
        opposed to resistive; or situations in which the inmate has a history of assaults against
        staff. Hold line staff and supervisors accountable if this policy is violated. The WRAP is
        subject to scrutiny under Provision 17.5.

     2) Authorize one or both remaining Monitors to rehire, or hire new, auditors to verify data.

     3) Finalize revisions to Prohibited Force policy (CDM 7-01/030.00) that further restricts use
        of head strikes with personal weapons, kicking, and the use of force on restrained

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          inmates, including adding a requirement that use of head strikes with personal weapons,
          kicking, and use of force on restrained inmates may be used only when there are no other
          reasonable means to avoid serious physical injury, including, specifically, stepping away
          from an inmate or otherwise using non-violent methods to avoid or de-escalate a
          confrontation with an inmate.

     4) Remove references to high risk/assaultive behavior as rationales for use of force in all use
        of force policy and training materials and discontinue use of force options chart in all
        custody training. Citizen’s Commission on Jail Violence Recommendation 14.

     5) Require any personnel who have employed head strikes to explain in his/her report(s) the
        decision to do so and how doing so was consistent with the revised Prohibited Force
        policy including why there were no other reasonable means to avoid serious physical
        injury.

     6) Require any supervisor reviewing use of force incident in which head strikes were used to
        specifically evaluate whether the use of head strikes was consistent with the revised
        Prohibited Force policy, including (i) whether there were no other reasonable means to
        avoid serious physical injury and (ii) whether the explanation from the LASD personnel
        was credible given all the evidence available to the supervisor.

     7) Discipline should be the presumptive consequence for any personnel who employed head
        strikes and failed to explain in his/her report(s) the decision to do so and how doing so
        was consistent with the revised Prohibited Force policy including why there were no
        other reasonable means to avoid serious physical injury. Discipline imposed may not be
        solely a Performance Log Entry or re-training or limited to a Performance Log Entry and
        re-training.*

     8) Discipline should be the presumptive consequence for any personnel found to have
        violated the head strike provision of the revised Prohibited Force policy (CDM 7-
        01/030.00). Discipline imposed may not be solely a Performance Log Entry or re-
        training or limited to a Performance Log Entry and re-training. Any personnel who
        violated the head strike provision and is not terminated must be placed in a formal and
        adequate performance review program. (Rosas Implementation Plan 13.1)

     9) Discipline should be the presumptive consequence for any supervisor who fails to
        specifically evaluate whether any use of head strikes was consistent with revised
        Prohibited Force policy including (i) whether there were no other means to avoid
        physical injury and (ii) whether the explanation from the LASD personnel was
        supportable given all the evidence available to the supervisor. Discipline imposed may
        not be solely a Performance Log Entry or re-training or limited to a Performance Log
        Entry and re-training.


 *
   While supervisors are encouraged to require supplemental training for personnel found to have
 violated the Prohibited Force, Force Prevention, and Recalcitrant Inmate policies, supplemental
 training may not be in lieu of imposing discipline.
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     10) Discipline should be the presumptive consequence for any supervisor who concludes that
         a use of head strikes that violated revised Prohibited Force policy was reasonable and
         consistent with LASD policy. Discipline imposed may not be solely a Performance Log
         Entry or re-training or limited to a Performance Log Entry and re-training.

     11) Discipline should be the presumptive consequence for any personnel found to have failed
         to employ de-escalation tactics, including failing to call a supervisor to the scene when
         time and circumstances permitted, or otherwise violating the policy on handling
         insubordinate, recalcitrant, hostile, or aggressive inmates (CDM 7-02/020.00). Discipline
         imposed may not be solely a Performance Log Entry or re-training or limited to a
         Performance Log Entry and re-training.


     12) Discipline should be the presumptive consequence for any supervisor who concludes that
         any personnel found to have failed to employ de-escalation tactics, including failing to
         call a supervisor to the scene when time and circumstances permitted, or otherwise
         violating the policy on handling insubordinate, recalcitrant, hostile, or aggressive inmates
         (CDM 7-02/020.00), acted reasonably and in a manner consistent with LASD policy.
         Discipline imposed may not be solely a Performance Log Entry or re-training or limited
         to a Performance Log Entry and re-training.

     13) Discipline should be the presumptive consequence for any personnel found to have
         written any report that contains clear inconsistencies between actions taken leading up to
         or during use of force incident and any video of that incident. Discipline imposed may
         not be solely a Performance Log Entry or re-training or limited to a Performance Log
         Entry and re-training.

     14) Discipline should be the presumptive consequence for any supervisor who fails to note
         and recommend discipline for any personnel who wrote any report that contains clear
         inconsistencies between actions taken leading up to or during use of force incident and
         any video of that incident. Discipline imposed may not be solely a Performance Log
         Entry or re-training or limited to a Performance Log Entry and re-training.

     15) Custody Division Executives and the Office of the Inspector General should re-examine
         effectiveness of CFRC process and how it is being used to do critical analysis of all
         Category 2 uses of force, including how it is functioning to evaluate disciplinary
         decisions and how it interacts with the Custody Force Review Team processes, to ensure
         that policy violations are timely identified and appropriately addressed and that all
         responsible personnel – including high-level managers -- are held accountable.

     16) Department Executives and the Office of the Inspector General should re-examine both
        effectiveness of IAB review of category 3 cases, and EFRC review and policy
        determinations on category 3 cases and determine whether category 3 force incidents
        should instead be investigated and analyzed within the custody division rather than by
        IAB and EFRC

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     17) Replace current DiVRT de-escalation training with alternative training approved by the
         Monitors that is a minimum of 32 hours of custody-specific, scenario-based, skill
         development training on Crisis Intervention and Conflict Resolution for: a) all members
         of the Custody Division currently assigned to MCJ, TTCF, and IRC and b) all new
         Department members in the Academy or in Custody before they are assigned to any jail
         facilities. (Rosas Implementation Plan 4.6)

     18) Require that all members assigned to MCJ, TTCF, and IRC have an 8-hour refresher
         course every other year based on Crisis Intervention and Conflict Resolution training
         approved by the monitors. (Rosas Implementation Plan 4.6)




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